                  Case 8-18-72852-reg              Doc 8       Filed 05/06/18          Entered 05/07/18 00:18:26

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 18-72852-reg
Doreen Hoffman                                                                                             Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-8                  User: mtagle                       Page 1 of 2                          Date Rcvd: May 04, 2018
                                      Form ID: pdfall                    Total Noticed: 31


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 06, 2018.
db             +Doreen Hoffman,    163 Roe Avenue,    Patchogue, NY 11772-5739
aty            +John Fazzio,    Fazzio Law,    26 Broadway,    21st Floor,   New York, NY 10004-1809
9257995        +AMCMA,   4 Westchester Plaza, Suite 110,      Elmsford, NY 10523-1615
9257997        +Atlantic Credit & Finance,     PO Box 2001,    Warren, MI 48090-2001
9258000        +Debt Recovery/Pendrick Capital,     PO Box 9003,    Syosset, NY 11791-9003
9258001        +Excluder Security Systems,     PO Box 1286,    Massapequa, NY 11758-0905
9258002        +Fazzio Law,    164 Franklin Turnpike,     Mahwah, NJ 07430-1399
9258003        +Henry Weinstein,    37 Maple Ave.,    Cedarhurst, NY 11516-2221
9258004        +Joyce Ciccone,    9337 Santa Monica Way,     New Port Richey, FL 34655-5711
9258006        +LI Anesthesiologist 3 Boyle Road,     Selden, NY 11784-4000
9258005         Lenox Hill Hospital,    c/o Automated Financial,     4505 Veterans Mern Hwy, Ste H,
                 Lake Ronkonkoma, NY 11779
9258007        +Linda Cerami,    107 Laurel Street,     Patchogue, NY 11772-3554
9258008        +Mullen & Iannarone PC,    300 East Main Street,     Smithtown, NY 11787-2921
9258009         N.Y. State Dept of Taxation,     NYS Assessment Receivables,     PO Box 4127,
                 Binghamton, NY 13902-4127
9258010        +National Grid,    PO Box 11791,    Newark, NJ 07101-4791
9258011        +New City Funding Corp.,     PO Box 121,    Stony Point, NY 10980-0121
9258014        +PSEG-LI,    Po Box 888,   Hicksville, NY 11802-0888
9258015         Quest Diagnostics,    PO Box 7308,    Hollis MO 65673-7308
9258017        +RT Financial (Langone Medical),     2 Teleport Dr, Suite 302,     Staten Island, NY 10311-1004
9258016        +Rainman Irrigation Inc,     840 Lincoln Ave, Unit 10,    Bohemia, NY 11716-4108
9258018        +Rushmore Loan Management,     PO Box 52708,    Irvine, CA 92619-2708
9258019        +Stewart Brody DDS,    c/o Richard Sokoloff Esq,     900 S. 2nd Street, Suite 1,
                 Ronkonkoma, NY 11779-7232
9258020         Suffolk County Water,    2045 Route 1112, Suite 5,     Coram, NY 11727
9258022        +USBank NA as LegalTitleTruitee,     200 Business Park Drive,     Armonk, NY 10504-1733

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
9257996        +E-mail/Text: bkrpt@retrievalmasters.com May 04 2018 18:29:11        American Medical Collection,
                 4 Westchester Plaza,    Elmsford NY 10523-1615
9257998        +E-mail/Text: bankruptcy_notifications@ccsusa.com May 04 2018 18:29:24
                 Credit Collections Services,    725 Canton Street,    Norwood, MA 02062-2679
9257999        +E-mail/PDF: creditonebknotifications@resurgent.com May 04 2018 18:32:59        Credit One Bank,
                 PO Box 60500,    City of Industry, CA 91716-0500
9262934         E-mail/PDF: resurgentbknotifications@resurgent.com May 04 2018 18:32:48
                 LVNV Funding, LLC its successors and assigns as,     assignee of North Star Capital,
                 Acquisition LLC,    Resurgent Capital Services,    PO Box 10587,    Greenville, SC 29603-0587
9262924         E-mail/Text: nys.dtf.bncnotice@tax.ny.gov May 04 2018 18:29:25
                 New York State Department of Taxation & Finance,     Bankruptcy Section,    P O Box 5300,
                 Albany New York 12205-0300
9258013        +E-mail/Text: bcwrtoff@cablevision.com May 04 2018 18:29:25        Optimum Cable Vision,
                 1111 Stewart Ave.,    Bethpage, NY 11714-3581
9258021         E-mail/Text: cio.bncmail@irs.gov May 04 2018 18:29:03       U.S. Internal Revenue Service,
                 PO Box 804527,    Cincinnati, OH 45280-4527
                                                                                               TOTAL: 7

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
9258012*         +New City Funding Corp.,   PO Box 121,   Stony Point, NY 10980-0121
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 06, 2018                                             Signature: /s/Joseph Speetjens
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                             CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 4, 2018 at the address(es) listed below:
              United States Trustee   USTPRegion02.LI.ECF@usdoj.gov
                                                                                            TOTAL: 1
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 Dated: Central Islip, New York                                           Robert E. Grossman
        May 3, 2018                                                  United States Bankruptcy Judge

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